Case 23-03141 Document 410-8 Filed in TXSB on 12/19/24 Page 1 of 4




    EXHIBIT 6
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           Case23-03141
                23-34815 Document
                          Document410-8
                                   743 Filed
                                        FiledininTXSB
                                                  TXSBon
                                                       on09/24/24
                                                          12/19/24 Page
                                                                    Page12ofof34
                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                                       September 24, 2024
                            FOR THE SOUTHERN DISTRICT OF TEXAS                                         Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

IN RE:                                                       §
                                                             §        CASE NO: 23-34815
GALLERIA 2425 OWNER, LLC,                                    §
                                                             §
             Debtor.                                         §
                                                             §       CHAPTER 11

                               ORDER DENYING MOTION (ECF NO. 740)

           Before the Court is the Motion to Reconsider (ECF No. 740) filed by 2425 WL, LLC. For
the following reasons the motion is denied. This motion was filed under Federal Rules of Civil
Procedure (“Fed. R. Civ. P.”) 59(e), 60(a) and 60(b), as well as Federal Rules of Bankruptcy
Procedure (“Fed. R. Bankr. P.”) 9023 and 9024.
           The Court is being asked to reconsider its Order Disallowing Proof of Claim No. 7 which
it entered after an evidentiary hearing on September 6, 2024. Although the movant also claims that
Fed. R. Civ. P. 60(a) applies, it does not point to any clerical mistake or a mistake in oversight or
omission as provided by Rule 60(a). Instead, the main thrust of its arguments is found under Rule
60(b)’s allowance of relief from mistake, inadvertence, surprise or excusable neglect. The Court
stands on the hearing record, the evidence presented to it and its order with fact and legal findings.
           Motions filed under Fed. R. Civ. P. 59(e) in bankruptcy court must be brought within 14
days.1 The movant filed this motion on September 24, 2024, when the 14 days expired on
September 20, 2024. Accordingly, this motion was not timely filed under Rule 59(e).
           Furthermore, Fed. R. Civ. P. 59(e) requires movant to clearly establish either a manifest
error of law or fact or mut present newly discovered evidence. 2 This motion makes the same
arguments made at trial, i.e. that the Settlement Statement attached to the disallowed Proof of
Claim (Claim 7-2) somehow supports it rather than disproves it; that there was proper
consideration; and that Choudhri has legal authority to sign the disallowed Promissory Note and
Deed of Trust. All of these arguments were expressly rejected at trial. Thus, there is no error of
law or fact, and the movant has not presented any newly discovered evidence.

                                                                                                      EXHIBIT
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    Fed. R. Bankr. P. 9023. Movant mistakenly states that the deadline is 28 days in its motion.
    Pluet v. Frasier, 355 F.3d 381, 384 (5th Cir. 2004).
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1/3
          Case
           Case23-03141
                23-34815 Document
                          Document410-8
                                   743 Filed
                                        FiledininTXSB
                                                  TXSBon
                                                       on09/24/24
                                                          12/19/24 Page
                                                                    Page23ofof34




           As the Court stated:
           As indicated by the Settlement Statement the borrower was Galleria 2425 Owner,
           LLC (the debtor), the Seller was 2425 WL, LLC (the claimant) and the lender was
           NBK. The Contract Sales Price (Line 401) is $79,500,000.00 and after payment of
           all outstanding debits and credits the Seller and claimant received cash of
           $13,720,254.15 (Line 603). The false Proof of Claim 7-2 is based on line 518 of
           the Settlement Statement which indicates a “Seller Credit to Buyer” of
           $14,730,332.38, which when netted against debits to the Buyer in the settlement
           statement leads to the cash payment to the Seller and claimant of $13,720,254.15.
           Somehow line 603 of the Settlement Statement leads the claimant to make the
           fanciful, and wholly false claim that the claimant who received over $13 million in
           cash has an additional claim against the debtor for over $14 million dollars plus
           accumulated interest as if it lent the debtor this sum, when it did not.

           The Court reiterates that a plain reading of the settlement statement in conjunction with the
testimony of the two appearing witnesses Azeemeh Zaheer and Christopher Wyatt can only lead
to one conclusion, the conclusion reached by the Court in its order disallowing the claim. That the
movant believes there is “no basis for the Court to disallow the claim” is in the opinion of this
Court again fanciful and without a factual or legal basis.
           The Court disagrees with the allegation that it erred as a matter of law by rendering a moot
decision to invalidate the Proof of Claim. First, the Court notes that the Chapter 11 Plan has been
appealed, that is it possible that Plan confirmation may be reversed, and the claim would therefore
not be disallowed. Additionally, that the issues of claim validity that were raise in the objection
to claim are substantially different than those raised by plan confirmation.
           The Court also reiterates the long history this Court has experienced with Ali Choudhri
(“Choudhri”). The Court has found Choudhri’s truth and veracity to be lacking on multiple
occasions.        The Court stresses that Choudhri cannot expect the Court give weight to his
unsubstantiated claims in this motion given (1) its prior holdings and (2) the prior hearing
testimony of the Chapter 11 Trustee where “he could not rely on the veracity of Choudhri.”3
           The Court addresses Choudhri’s claims that he was ill and unable to testify at the claim
objection hearing. Unfortunately, Choudhri is much like “the boy who cried wolf.” 4 Choudhri
has on multiple occasions claimed to have suffered a stroke only to appear before this Court and
another Bankruptcy Court [Judge Marvin Isgur] and give testimony. The Court therefore must

3
    ECF No. 565, pg 10) “He further testified that it was his opinion that he could not rely on the veracity of Choudhri.”
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    One of Aesop’s Fables, to cry wolf is to give a false alarm so that future claims are treated as doubtful.
2/3
        Case
         Case23-03141
              23-34815 Document
                        Document410-8
                                 743 Filed
                                      FiledininTXSB
                                                TXSBon
                                                     on09/24/24
                                                        12/19/24 Page
                                                                  Page34ofof34




severely discount his claims that he was unable to appear. The Court additionally notes that his
Emergency Motion to continue the claims disallowance hearing was filed at 10:05 p.m. the night
before the scheduled hearing, less than twelve hours prior to that hearing. As the Court stated on
the record when it denied Choudhri’s request to continue, there were no reasons as to what only
became apparent at 10:00 p.m. the night before the hearing, that the Choudhri parties could not
have known much, much earlier.
         The Court stresses its prior holding regarding what it perceives to be a long running scheme
by Choudhri to stall a foreclosure and litigate.5 The Motion to Reconsider is simply more of the
same and rehashes the same arguments made at the hearing. This Court, as the trial court, has
ruled. The parties have appeal rights, and the Court encourages them to exercise them, it will not
however reconsider its ruling.
         Therefore, for the reasons stated above, the Court denies in its entirety the Motion for
Reconsideration and Relief from Judgment.
         SO ORDERED.
          SIGNED 09/24/2024


                                                                ___________________________________
                                                                Jeffrey Norman
                                                                United States Bankruptcy Judge




5
  ECF No. 565, pg 16) “As shown by the record, the Debtor and its principal have attempted and to this point been
very successful in delaying NBK from exercising its rights under its loan documents, deed of trust and the Confidential
Settlement Agreement. The Debtor and its principal Choudhri have been involved in a long running scheme to
postpone a real estate foreclosure. This Court has spent over two days June 17 and 19, 2024, hearing specific evidence
regarding the disputes between the Debtor, its principal and the NBK. The Court has previously found that the disputes
raised by the Debtor, primarily the Debtor’s principal, who is also the principal of the other objecting creditor, to be
dubious and of limited value that includes primarily nuisance litigation to avoid foreclosure of the subject real estate.
The Court finds that is has evaluated the claims raised by the Debtor and its principal based on the evidence presented
in this case, especially the documentary evidence. The Courts evaluation finds these claims are not viable.”
3/3
